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82550 (liorln 2550 1- Subpocna to Appcar and 'I`cstit`y at a Hearing or 'l`ria| in a Banlcruptcy (`.`ase or Advcrsm"y Proceediug} ll.?fl 3}

UNITED STATES BANKRUP`TCY COURT

Northern District oi` Texas

 

ln re Walnut l~lil| thsicians‘ Hosoital. LLC

Debtor

_ Casc No, 1'?-32255-b`1h?
(C`omp!ete iffssnea‘ in an adversary broceea’.='ng}l

 

 

Chapter ')’
Plaintifi" .
V’ Adv. Proc. No.
Dcfendant

SUBPOENA TO A.PPEAR AND TESTIFY
A'I` A HEARING OR TRIAL I.N A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

'l`o: lason A. Enrialtt l
G'\¢'ome o_;"person to whom the subpoena is directory

:l YOU ARE CO.MMANDED to appear in the Unitcd States Bankruptcy _Court at the time, date, and place set forth below
to testify at a hearing or trial in this bankruptcy case {or adversary proceeding). thn you arrive, you must remain at the
court until the judge or a court official allows you to leave.

 

PLACE COURTROOM #2, 14th Floor

 

liarle Cabel| liedera| Building, 1100 Commerce St., Dallas, TX ?5242 DATE AND TIM-E
September 12, 2018 at 9:30 a.rn.

 

 

You must also bring with you the following dot:l.lrnc°:nts1 electronically stored information1 or objects (Zecwe blank :’fno!
op;)t'ic'abt'e): l

 

'l`he following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(€] and 45(§), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: August 29, 2013 l
CLERK OF COURT '

 

 

Sz'gnature off.`!erk or Depury (`ferk

 

"l`he name, address emai| address. and telephone number of the attorney representing maine Qf`porry)
M unan Hardt Kopf& l-larr. P.C, , who issues or requests this subpoena, are:

Julian P, Vasek. Munsch |-lardt Kopt`& l-larr, P.C., 500 N. Akard St., St`c. 3800, Da||as._ 'l"X 7520|
2 l 4-355~?500, jvasek(c?nnunsch.com

Notice to the person who issues or requests this subpoena
lt`rhis subpoena commands the production ot`documents` electronically stored information, or tangibie things or the
inspection ot` premises before trial, a notice and a copy ofthis subpoena must be served on each party before it is served on
the person to whom it is directed Fed. R. Civ. P. 45{a)(4).

 

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132550 [Fon'n 2550 - Subpoona to A])pcar and 'l`cstify at a i'l'caring or Tria| in a Benkiuptcy Casc or Advcrsary l’rocceding) (Pagc 23

PROOF ().F SERVICE
(This section should not be filed With the court unless required by Feci. R. Civ. P. 45.)

necein this gubpoella for (name of individual and tit!e, i'fony); JASON A. ENR|GHT
aaa M.

 

l:l I served the subpoena by delivering a copy to the named person as follows: Pel'$°nal Hand'DeliVe"ed 31
2728 North Harwood Streel, Suite 500, Da||as, TX 75201 at2:20 F'N|

ama M t m

 

 

 

l:l ll returned the subpoena unexecuted because:

 

 

Uniess the subpoena was issued on behalf of the `United States, or one of its officers or agents, I have aiso tendered to the
witness the fees for one day’s attendance and the mileage allowed by law, in the amount of S 51»2° CHECK

My fees are $ for travel and $ for ser\-'i ces, for a rossi ci 55
l

I declare under penalty of perjury that this information is /tt=ue'and correct
Date; 8!3012013 d M
w /M /W//W

.J"l‘ Ef‘ .(P{gqtli`ii!% '

Danny L Haney Texas Process Server (PSCSBB) Exp 31'31!20
' Fr£nted name end title

 

5470 LBJ Freeway Suile 100, Da||as. TX 75240
Server ’s address

 

Additional information concerning attempted service, etc.:

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132550 l l`-`orm 2550 w Subpccna to Appcar and 'l`cstify at a llcaring or Trial in a Bankruptcy Casc or Adversary Procceding) (Pagc 3)

Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12r‘lv‘13)
(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

[c) Plnce of com plhance.

()') For or Tr."o¢’_ Henrl'ng. or i'.)eposi.rr`on_ A subpoena may command n
person to attend a trial, hearing or deposition only as follows.'
f;~\) within 100 miles o|` where the person resides is employed or
regularly transacts business in pcrson: or
(Bl within the Statc where lite person resides, is cmploycd, or regularly
transacts business in person. if the person
{l) is a party or a purt_v`s ofticer'. or
(ii) is commanded to attend a trial and would not incur substantial
cxpcusc.

2) F'or Other l.`Ji'scove)j/. A subpoena may command'.
lAl production of documents or electronically stored ir\il`on‘mttion1 or
things at a place within 100 miles of where the person resides, is eu'lpl¢.)ycd1
or regularly transacts business in person; and
(B`) inspection ofpremises, at the premises to be inspected

[d) l’rotccting a Pcrson Subject to a Subpoerta: Enl`orcemeot.

( ll At'r:ldt`ng Undue Btmden or E.`rpeuse; Scrnctlon.t_ A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person
subject to thc subpoena The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction _
which may include lost earnings and masonablc attorneys fees -- ou a
party or attorney who falls to comply.

(2) (.'om:m.'rrd to Pi'odut'e .'l'fo.fer'ior'.s or !’erm:`r inspection

{A,l Appeoronce .N`ol Reqni'red_ A person commanded to produce
documents electronically stored information or tangible things, or to
permit the inspection of premises need not appear in person at the place o'l"
production or inspection unless also commanded to appear for a deposition
hearing or trial

fill (.`le`ecn`ons_ .A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attonicy designated
in the subpoena a written objection to inspecting copyingl testing or
sampling any or all oi`the materials or to inspecting the promises -- orto
producing electronically stored inibrmaliori in the l`omt cr forms requested
"l`hc objection must bc served before thc earlier ol` the time specified for
compliance or l¢t days after the subpoena is served lf an obiection is made
the following rules apply

Li) At any time, on notice to the commanded pcrsou. the sewing party
may move thc court for thc district where compliance is required for an
order compelling production or inspection
f ill Al`hese acts may bc required only ns directed in the order, and the

order must protect a person who is neither a party nor a parly’s oi"llcer from
significant expense resulting from compliancel

(3,1 Quushing or Moo'.g',tj)i'ug o thpoeno.
(_4) When Requlred. On timely motiort, the court for the district where
compliance is required must qu&h or modify a subpoena that
Li} fails to allow a reasonable lime to comply',
(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(<:];
tiii) requires disclosure of privileged or other protected matter, il`no
exception or waiver applics; or
(iv) subjects n person to undue burden
_KB) l'i’hen Perm.".rted. 'l`o protect a person subject to or aliceth by a
subpoena the court for the district where compliance is required may, on
nlotion, quash or modify the subpoena if it rcquircs:
(i) disclosing a trade secret or other confidential rcscarclt.
dcvc|opmcnl.. or commercial ini"omtation: or

(ii) disclosing an unretaincd expects opinion or information that does
not describe specific occurrences in dispute and results from thc experts
study that was not requested by a party

(C.`l f>`pecpj’t'ng C.`ona'iti`on.s as on .4lrerrtolr`ve_ ln thc circumstances
described in Rulc 45fdl(3](l3}t the court may, instead of quashing or
modifying a_subpocna order appearance or production under specified
conditions if the serving party_'

{i) shows a Substantiai need for thc testimony or material that cannot
be otherwise met without undue hardship', and

(ii) ensures that the subpoenaed person will be reasonably
compensated

(e) Duties in Responding to a Subpoena.

(l) Producing Docwuents or Elecn'omcollv Srored information Thcsc
procedures apply to producing documents or electronically stored
infonnation:

¢4) Documem.v. A person responding to a subpoena to produce
documents must produce them as they arc kept in the ordinary course of
business or must organize and label them to correspond to thc categories in
the demand

(B) F`or for Produc:'ng E!ec.rrom'col{v .S`tored lnformct;lon Nol'
.S})ee[ned_ lf subpoena does not specify a form for producing
electronically stored information the person responding must produce it in
21 form or forms in which it is ordinarily maintained or in a reasonably
usable form or forms.

(C.`_) Elec!ronicof{v$tored lnj)rmolion P:'oa'nced fn ()nl[v Gne Form. "l`hc
person responding need not produce thc same electronically stored
information in more than one form

(D,l inaccessible Elecrrom`ca!l[v Srored fluor-motion The person
responding need not provide discovery ol" electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost Crn motion to compel discovery or for a protective
ordcr. the poison responding must show that the information is not
reasonably a ~cessiblc because of undue burden or cost. ll`thal showing is
mttdc_ the col.u't may nonetheless order discovery from such sources if the
requesting p:irty shows good cause considering the limitations of Rule
26(b)(2l(C). Thc Court may specify conditions for thc discovery

(2) Cr‘armmg Prfv:'iege or Pmlecn'on.

(.4) information erhheld. A person withholding subpoenaed
information finder a claim that it is privileged or subject lo protection as
trial-preparation material must'.

(i) expressly make the claim: and

(ii] describe die nature of the withheld documents communications
or tangible things in a manner that, without revealing information itself
privileged or protected will enable the parties to assess the claim.

(B) lnfor, orion Froduced. ll` information produced in response to a
subpoena is subject to a claim ofpn`vilege or ofprolccl'ion as trial-
prcparation matcrial, the person making the claim may notify any party that
received the information of the claim and the basis for it. Afl'er being
notified a party must promptly rcturn, scquestcr, or destroy thc specified
information and any copies it hns; must not use or disclose thc information
until the claim is resolvch must take reasonable steps to retrieve the
information i:t`thc party disclosed it before being notificd; and may
promptly present the information under seal to the court for thc district
where compliance is required for a determination of thc claim 'l`hc person
who produced the information must preserve the information until the claim
is resolved

(g) Contempt. 'l'he court for the district where compliance is required ~ and
a|so. after a motion is transferred die issuing court -may hold in contempt
a person who. having been served fails without adequate excuse to obey
the subpoena or an order related to i:.

 

 

l~"or access to subpoena materials see l-`ecl. R_ Civ. P. 4S(aJ-Committcc Notc [2(}]3)

 

 

